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                                    UNITED STATES DISTRICT COURT
1
                                   NORTHERN DISTRICT OF CALIFORNIA
2
3    STEVE WILSON BRIGGS,

4                  Plaintiff(s),                        No. C 13-4679 PJH

5           v.                                          CASE MANAGEMENT
                                                        AND PRETRIAL ORDER
6    NEILL BLOMKAMP, et al.,

7               Defendant(s).
     ___________________________________/
8
            Good cause appearing, the court hereby adopts the case management statement of the
9
     parties except as modified by the following:
10
                                         PRETRIAL SCHEDULE
11
     TRIAL DATE: Monday, May 18, 2015, at 8:30 a.m., Courtroom 3, 3rd Fl.
12         JURY []   COURT [X]

13   TRIAL LENGTH: No more than 4 days.

14   PRETRIAL CONFERENCE DATE: April 30, 2015, at 2:00 p.m.

15   DISPOSITIVE MOTIONS ON LIABILITY (Only one summary judgment motion per party is
     permitted without leave of court) TO BE HEARD BY: July 30, 2014 .
16
     NON-EXPERT AND EXPERT DISCOVERY CUTOFF (Liability): May 16, 2014 .
17
     DISCLOSURE OF EXPERTS (Liability) : 3/14/14; REBUTTAL: 4/18/14 .
18
     DISPOSITIVE MOTIONS ON DAMAGES (Only one summary judgment motion per party is
19   permitted without leave of court) TO BE HEARD BY: February 25, 2015 .

20   NON-EXPERT AND EXPERT DISCOVERY CUTOFF (Damages): December 31, 2014 .

21   DISCLOSURE OF EXPERTS (Damages) : 10/31/14; REBUTTAL: 11/28/14 .

22
     DISCOVERY DISPUTES REFERRED TO MAGISTRATE JUDGE AFTER MOTION IS FILED.
23
     LAST DAY TO AMEND PLEADINGS: No later than 90 days before fact discovery cutoff date
24   a motion or a stipulation must be filed so that sufficient time remains to conduct discovery on
     added claims or parties. Doe defendants must be identified in the motion or stipulation or they
25   will be dismissed.

26
27   ADDITIONAL ORDERS:

28




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1                                      PRETRIAL INSTRUCTIONS

2    A.     PRETRIAL MOTIONS

3           1. All dispositive motions are heard no later than 120 days before trial, unless leave
     of court is obtained for another deadline.
4
            2. Only one summary judgment motion may be filed by each side, absent leave of
5    court. Leave of court may be sought if multiple parties comprise one or both sides. Leave of
     court may be obtained by filing a motion for administrative relief pursuant to Civ. L. R. 7-11,
6    or by requesting a case management conference or informal telephone conference.

7           3. Separate statements of undisputed facts in support of or in opposition to motions
     for summary judgment shall NOT be filed. See Civil L. R. 56-2. The parties may file a truly
8    joint statement of undisputed facts only if all parties agree that the facts are undisputed.

9           4. Objections to evidence may no longer be filed separately but must be contained
     within a brief or memorandum. Civil L. R. 7-3.
10
            5. Each party filing or opposing a motion shall also serve and file a proposed order
11   which sets forth the relief or action sought and a short statement of the rationale of decision,
     including citation of authority that the party requests the court to adopt.
12
            6. Chambers copies of each electronically-filed document must include on each page
13   the running header created by the ECF system and must be delivered to the Clerk's Office by
     noon the day following its filing. All documents must be stapled or bound by a two-pronged
14   fastener, and all exhibits to declarations or requests for judicial notice must be tabbed.

15           7. Footnotes in briefs appearing in smaller than the 12-point font required for the text,
     will be stricken, see Civil L. R. 3-4(c)(2), as will footnotes that are so numerous as to be clearly
16   designed to defeat the page limits found at Civil L. R. 7-2 - 7-4.

17          8. Motions pursuant to Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579
     (1993), challenging the reliability of expert testimony, may be noticed for hearing on the date
18   dispositive motions will be heard or on any available hearing date up to and including the date
     of the final pretrial conference. Irrespective of the hearing date, the briefs shall be filed in
19   accordance with Civil L. R. 7-2 - 7-5, that is, on a 35-day briefing schedule.

20          9. Motions in limine are limited to motions to exclude specific items of evidence on
     a ground and upon such authority as would be sufficient to sustain an objection to such
21   evidence at trial. The court will not generally consider a motion presenting a purely legal issue
     in the guise of a motion in limine.
22
            10. Discovery motions will be referred to a Magistrate Judge for resolution. The
23   words "Discovery Matter" shall appear in the caption of all documents relating to discovery to
     insure proper routing.
24
            11. Confidential and/or sealed documents shall be handled in accordance with this
25   court's standing order and Civil L.R. 79-5, both of which the parties shall consult before moving
     for a protective order or requesting a sealing order. Requests to seal documents used in
26   conjunction with dispositive motions are rarely granted and then only upon a showing of the
     most compelling of reasons.
27
28



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     B.     FINAL PRETRIAL CONFERENCE
1
            1. Each party shall attend personally or by counsel who will try the case.
2
            2. Not less than 35 days prior to the pretrial conference, all counsel and/or parties
3    shall meet and confer regarding preparation of the joint pretrial statement.

4           3. Not less than 28 days prior to the pretrial conference, counsel and/or parties shall:

5                  a.     Serve and file a joint pretrial statement. (Separately filed statements will
                          not be accepted by the court and monetary sanctions will be imposed
6                         upon the party failing to cooperate in the preparation of a joint statement).
                          The pretrial statement shall include the following:
7
                          (i)      A brief description of the substance of the claims and defenses
8                                  which remain to be decided.
                          (ii)     A detailed statement of all relief sought, itemizing all elements of
9                                  damages claimed.
                          (iii)    A statement of all relevant undisputed facts to which the parties
10                                 will stipulate for incorporation into the trial record without the
                                   necessity of supporting testimony or exhibits.
11                        (iv)     A statement of all relevant disputed facts which remain to be
                                   decided.
12                        (v)      A statement of stipulations requested or proposed.
                          (vi)     A brief statement of disputed points of law concerning liability and
13                                 relief. Legal argument on these points shall be reserved for the
                                   trial briefs.
14                        (vii)    A statement of whether bifurcation or a separate trial of specific
                                   issues is feasible and desired.
15                        (viii)   A statement summarizing the status of settlement negotiations and
                                   indicating whether further negotiations are likely to be productive.
16
                   b.     Serve and file trial briefs (not to exceed 25 pages), which shall specify
17                        each cause of action and defense remaining to be tried along with a
                          statement of the applicable legal standard (no opposition shall be filed);
18
                   c      Serve and file no more than ten motions in limine, which shall be filed in
19                        one document not to exceed 25 pages;

20                 d.     Serve and file a list of deposition excerpts for witnesses who will not
                          testify in person, (specifying the witness, page and line references) and
21                        other discovery responses that will be offered at trial;

22                 e.     Serve and file a list of all witnesses to be called at trial, in person or by
                          deposition, other than solely for impeachment or rebuttal, with a brief
23                        statement describing the substance of the testimony to be given;

24                 f.     Serve and file a numerical list of exhibits that will be offered as evidence
                          in a party's case in chief in support of a claim or defense, with a brief
25                        statement describing the substance and purpose of each exhibit and the
                          name of the sponsoring witness;
26
                   g.     Exchange exhibits which shall be premarked with an exhibit sticker
27                        (example attached), tabbed and in binders. Plaintiff shall use numbers (1,
                          2, 3, etc.) and defendant shall use numbers preceded by a letter (A-1, A-2,
28                        A-3, etc.). Additional parties shall also use a letter preceding numbers (B-
                          1, B-2, B-3, or C-1, C-2, C-3, etc.).



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                   h.      Submit two sets for jury trials and three sets for court trials of all
1                          premarked exhibits to the Clerk's Office (exhibits are not filed);

2                  i.      Serve and file any request regarding the treatment of confidential or
                           sealed documents.
3
                   j.      Serve and file proposed joint voir dire questions and joint jury instructions
4                          for cases to be tried by jury;

5                  k.      Serve and file proposed findings of fact and conclusions of law for cases
                           or claims to be tried by the court.
6
                   l.      Serve and file a proposed verdict form which contains no reference to
7                          submitting party.

8            4. No party shall be permitted to call any witness or offer any exhibit in its case in chief
     that is not disclosed in these pretrial filings without leave of court and for good cause.
9
           5. Not less than 14 days prior to the pretrial conference, counsel and/or parties shall
10   serve and file any opposition to a motion in limine, not to exceed 25 pages, and any counter
     deposition designations. No replies shall be filed. All motions shall be heard at the pretrial
11   conference unless otherwise ordered. The parties shall not file separate objections, apart from
     those contained in the motions in limine, to the opposing party's witness list, exhibit list or
12   discovery designations. Notwithstanding Civil Local Rule 5-1(e)(7), a courtesy copy of any
     opposition brief must be delivered to the Clerk's Office no later than noon the day
13   following the filing.

14
     C.     JURY TRIAL
15
             Jury Selection shall proceed as follows: The Jury Commissioner will summon 20 to 25
16   prospective jurors. The Courtroom Deputy will select their names at random and seat them in
     the courtroom in the order in which their names are called. Voir dire will be conducted of
17   sufficient venire members so that six to eight will remain after all peremptory challenges and
     an anticipated number of hardship dismissals and cause challenges have been made.
18
             The court will then take cause challenges and discuss hardship claims at side bar. The
19   court will inform counsel which hardship claims and cause challenges will be granted, but will
     not announce those dismissals until the selection process is completed. Peremptory challenges
20   will be made in writing. The court will strike at one time those with meritorious hardship claims,
     those excused for cause, and those challenged peremptorily, and then seat the first six to eight
21   people remaining in numerical order.

22           The attached voir dire questionnaire shall be given to the venire members and copies
     of the responses will be made available to counsel at the beginning of voir dire. Counsel shall
23   submit a joint set of additional voir dire questions to be posed by the court. Any voir dire
     questions on which counsel cannot agree may be submitted separately. Counsel will be
24   permitted brief follow-up voir dire after the court's questioning.

25           The following jury instructions from the Ninth Circuit Manual of Model Jury Instructions
     Civil (2007 Edition) shall be given absent objection: 1.0 - 1.4, 1.6 - 1.14, 1.18 - 1.19, 3.1 - 3.4.
26   Counsel shall submit a joint set of these instructions along with case specific instructions using
     the Ninth Circuit Manual where appropriate. Any instructions on which counsel cannot agree
27   may be submitted separately. Each instruction shall be typed in full on a separate page with
     citations to the authority upon which it is based and a reference to the party submitting it. A
28   second blind copy of each instruction shall also be submitted omitting the citation to authority
     and the reference to the submitting party, but retaining the title of the instruction.



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1    D.     TRIAL SCHEDULE

2         The court's trial schedule is 8:30 a.m. to 1:30 p.m. with two fifteen-minute breaks, on
     Monday, Tuesday, Thursday and Friday.
3
     E.     PROCEDURE FOR AMENDING THIS ORDER
4
             No provision of this order may be changed except by written order of this court upon its
5    own motion or upon motion of one or more parties made pursuant to Civil. L. R. 7-11 with a
     showing of good cause. Parties may file a formal brief, but a letter brief will suffice. The
6    requesting party shall serve the opposing party on the same day the motion is filed and the
     opposing party shall submit a response as soon as possible but no later than four days after
7    service.
             If the modification sought is an extension of a deadline contained herein, the motion must
8    be brought before expiration of that deadline. The parties may not modify the pretrial
     schedule by stipulation. A conflict with a court date set after the date of this order does not
9    constitute good cause. The parties are advised that if they stipulate to a change in the discovery
     schedule, they do so at their own risk. The only discovery schedule that the court will enforce
10   is the one set in this order.

11          IT IS SO ORDERED.

12   Dated: January 17, 2014
                                                         ______________________________
13                                                       PHYLLIS J. HAMILTON
                                                         United States District Judge
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                                              CONFIDENTIAL
1
                                          JUROR QUESTIONNAIRE
2
3    Please fill out this form as completely as possible and print clearly. This will assist the judge
     and the lawyers in selecting a jury and will save time for them and for you. Because copies will
4    be made for the attorneys and the judge, do not write on the back of any page. If you need
     more room, continue at the bottom of the page. Thank you for your cooperation.
5
     1.      Your name:
6
     2.      Your age:
7
     3.      City in which you reside:
8
     4.      If you have lived there for fewer than five years, where did you live before:
9
             __________________________________________________________
10
     5.      Your place of birth:
11
     6.      Your marital status: (circle one)
12
                    single          married      separated      divorced        widowed
13
     7.      What is your occupation and how long have you worked in it?           (If you are retired,
14           please describe your main occupation when you were working).

15
16
17
     8.      Who is (or was) your employer? _________________________________
18
     9.      If you have held this job for fewer than five years, describe your previous job:
19
             ____________________________________________________________
20
     10.     If you are married, please list your spouse's occupation.
21
22
     11.     If you have children, please list their ages and genders and, if they are employed, please
23           give their occupations.

24
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     12.     Please describe your education background:
1
                    Highest grade completed:
2
                    College and/or vocational schools you have attended:
3
4
5
6
                    Major areas of study:
7
     13.     Have you served in the military? _________________________________
8
     14.     Have you ever had jury experience?                 No. of times?
9
             If yes: State/County Court                   Federal Court
10
             When?
11
             Was it a civil or criminal case?
12
             Did any of the juries reach a verdict?
13
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           CaseSTATES
        UNITED   4:13-cv-04679-PJH
                      DISTRICT COURT    Document     31DISTRICT
                                         UNITED STATES     FiledCOURT
                                                                  01/17/14    Page
                                                                         UNITED     8 of
                                                                                STATES   8
                                                                                       DISTRICT COURT
      NORTHERN DISTRICT OF CALIFORNIA  NORTHERN DISTRICT OF CALIFORNIA NORTHERN DISTRICT OF CALIFORNIA
     Case #:                          Case #:                           Case #:
     PLNTF EXHIBIT NO._____________   PLNTF EXHIBIT NO._____________    PLNTF EXHIBIT NO._____________


1    Date Admitted:________________________                     Date Admitted:________________________ Date Admitted:________________________


2    By:_________________________________                       By:_________________________________ By:_________________________________
                  Nichole Heuerman, Deputy Clerk                             Nichole Heuerman, Deputy Clerk                           Nichole Heuerman, Deputy Clerk
3    --------------------------------------------------------   -------------------------------------------------------- --------------------------------------------------------
         UNITED STATES DISTRICT COURT                               UNITED STATES DISTRICT COURT                               UNITED STATES DISTRICT COURT
4     NORTHERN DISTRICT OF CALIFORNIA                            NORTHERN DISTRICT OF CALIFORNIA NORTHERN DISTRICT OF CALIFORNIA
     Case #:                                                    Case #:                                                  Case #:
5    PLNTF EXHIBIT NO._____________                             PLNTF EXHIBIT NO._____________                           PLNTF EXHIBIT NO._____________


6    Date Admitted:________________________                     Date Admitted:________________________ Date Admitted:________________________


7    By:_________________________________                       By:_________________________________ By:_________________________________
                  Nichole Heuerman, Deputy Clerk                             Nichole Heuerman, Deputy Clerk                           Nichole Heuerman, Deputy Clerk
8    --------------------------------------------------------   -------------------------------------------------------- --------------------------------------------------------
         UNITED STATES DISTRICT COURT                               UNITED STATES DISTRICT COURT                               UNITED STATES DISTRICT COURT
9     NORTHERN DISTRICT OF CALIFORNIA                            NORTHERN DISTRICT OF CALIFORNIA NORTHERN DISTRICT OF CALIFORNIA
     Case #:                                                    Case #:                                                  Case #:
10   PLNTF EXHIBIT NO._____________                             PLNTF EXHIBIT NO._____________                           PLNTF EXHIBIT NO._____________


11   Date Admitted:________________________                     Date Admitted:________________________ Date Admitted:________________________


12   By:_________________________________                       By:_________________________________ By:_________________________________
                  Nichole Heuerman, Deputy Clerk                             Nichole Heuerman, Deputy Clerk                           Nichole Heuerman, Deputy Clerk
13   --------------------------------------------------------   -------------------------------------------------------- --------------------------------------------------------
         UNITED STATES DISTRICT COURT                               UNITED STATES DISTRICT COURT                               UNITED STATES DISTRICT COURT
14    NORTHERN DISTRICT OF CALIFORNIA                            NORTHERN DISTRICT OF CALIFORNIA NORTHERN DISTRICT OF CALIFORNIA
     Case #:                                                    Case #:                                                  Case #:
15   DEFT EXHIBIT NO._____________                              DEFT EXHIBIT NO._____________                            DEFT EXHIBIT NO._____________


16   Date Admitted:________________________                     Date Admitted:________________________ Date Admitted:________________________


17   By:_________________________________                       By:_________________________________                    By:_________________________________
             Nichole Heuerman, Deputy Clerk                              Nichole Heuerman, Deputy Clerk                          Nichole Heuerman, Deputy Clerk
18
     ------------------------------------- ------------------------------------- ---------------------------------------------------------
19      UNITED STATES DISTRICT COURT                               UNITED STATES DISTRICT COURT     UNITED STATES DISTRICT COURT
      NORTHERN DISTRICT OF CALIFORNIA                            NORTHERN DISTRICT OF CALIFORNIA NORTHERN DISTRICT OF CALIFORNIA
20   Case #:                                                    Case #:                         Case #:
     DEFT EXHIBIT NO._____________                              DEFT EXHIBIT NO._____________   DEFT EXHIBIT NO._____________
21
     Date Admitted:________________________                     Date Admitted:________________________ Date Admitted:________________________
22
     By:_________________________________                       By:_________________________________                    By:_________________________________
23           Nichole Heuerman, Deputy Clerk                              Nichole Heuerman, Deputy Clerk                          Nichole Heuerman, Deputy Clerk


24   --------------------------------------------------------   -------------------------------------------------------- --------------------------------------------------------
         UNITED STATES DISTRICT COURT                               UNITED STATES DISTRICT COURT                               UNITED STATES DISTRICT COURT
25    NORTHERN DISTRICT OF CALIFORNIA                            NORTHERN DISTRICT OF CALIFORNIA NORTHERN DISTRICT OF CALIFORNIA
     Case #:                                                    Case #:                                                  Case #:
26   DEFT EXHIBIT NO.                                           DEFT EXHIBIT NO.                                         DEFT EXHIBIT NO.
                                                                Date Admitted:________________________ Date Admitted:________________________
27   Date Admitted:________________________
                                                                By:_________________________________                    By:_________________________________
28   By:_________________________________                               Nichole Heuerman, Deputy Clerk                          Nichole Heuerman, Deputy Clerk
              Nichole Heuerman, Deputy Clerk

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